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                                                                  Schedule A
                                                                  Exhibit 2
Def No.   Platform                Defendant Seller Name                                                  Store URL
   1      Amazon                          Carry360                               https://www.amazon.com/sp?ie=UTF8&seller=A1S64GV6I3A65C
   2      Amazon                         WOH BAY                                 https://www.amazon.com/sp?ie=UTF8&seller=AZ2WRX6RWIYV0
   3      Amazon                        XUFEIJIDIAN                               https://www.amazon.com/sp?ie=UTF8&seller=A1R7CL9PKTPNII
   4      Amazon                       SDPEIA STORE                              https://www.amazon.com/sp?ie=UTF8&seller=A2R5GIUFV15P8F
   5      Amazon                   Benice Official Store                         https://www.amazon.com/sp?ie=UTF8&seller=A3R720BVXJ82SZ
   6      Amazon                          RUAPEHU                               https://www.amazon.com/sp?ie=UTF8&seller=A2DNG2NK8FERBU
   7      Amazon                        XIANNIAO01                               https://www.amazon.com/sp?ie=UTF8&seller=A2WZZJ6Y4YX2B7
   8      Amazon                            Optish                               https://www.amazon.com/sp?ie=UTF8&seller=AZ3YVCDZ28S8U
   9      Amazon                         ANNApaint                               https://www.amazon.com/sp?ie=UTF8&seller=AA227E8SDTCZG
  10      Amazon     Xiamen Meixinlai Import and Export Trading Co., LT        https://www.amazon.com/sp?ie=UTF8&seller=A2KUE4WU3QKB9A
  11      Amazon                          M-Ber US                               https://www.amazon.com/sp?ie=UTF8&seller=APA1EVGB899VP
  12      Amazon                          zeeyoocc                             https://www.amazon.com/sp?ie=UTF8&seller=A1T3RWPMJ4WBS4
  13      Amazon                          SHYAXCL                               https://www.amazon.com/sp?ie=UTF8&seller=A3T0V8ENBVUEK9
  14      Amazon                          GT HITGX                              https://www.amazon.com/sp?ie=UTF8&seller=A1DDHPN0T3YUXZ
  15      Amazon                             Eislin                              https://www.amazon.com/sp?ie=UTF8&seller=AP7DFFHH2PEUR
  16      Amazon                             Bawo                                https://www.amazon.com/sp?ie=UTF8&seller=A29YVO6O45J8R2
  17      Amazon                     FENGHAO UONP                                https://www.amazon.com/sp?ie=UTF8&seller=A1R6BZZ1K8A33J
  18      Amazon                           HLX-US                               https://www.amazon.com/sp?ie=UTF8&seller=A2EIEJAMP10V0W
  19      Amazon                          Kamyuer                                https://www.amazon.com/sp?ie=UTF8&seller=ABMIXO90WI9DR
  20      Amazon                         SOONSURE                                 https://www.amazon.com/sp?ie=UTF8&seller=ALR6AUF9FXLIX
  21      Amazon                          Aesceoby                              https://www.amazon.com/sp?ie=UTF8&seller=A3VD6WJZVB2X5K
  22      Amazon                      Supercenter-US                             https://www.amazon.com/sp?ie=UTF8&seller=AIY8WFCRVC4T0
  23      Amazon                     foshanaotiankeji                           https://www.amazon.com/sp?ie=UTF8&seller=A3HQDO445QTBIC
  24      Amazon                        GZTT-kitchen                            https://www.amazon.com/sp?ie=UTF8&seller=A2NDPEOQS8RD63
  25      Amazon       ShenZhenShiJingShangMengKeJiYouXianGongSi               https://www.amazon.com/sp?ie=UTF8&seller=A2ZQX878MHCGU1
  26      Amazon                Bathbeyond Sanitary Ware                          https://www.amazon.com/sp?ie=UTF8&seller=AKF6TT43FVN7L
  27      Amazon                       YUNBO HOME                               https://www.amazon.com/sp?ie=UTF8&seller=A29169UBR12B5P
  28      Amazon                        JOY US MALL                              https://www.amazon.com/sp?ie=UTF8&seller=AR2UQOIQFT5UG
  29      Amazon                          Holidecor                             https://www.amazon.com/sp?ie=UTF8&seller=A2XSXJMBNF95HR
  30      Amazon                            MissJa                               https://www.amazon.com/sp?ie=UTF8&seller=A21IFTU7UXSS3E
  31      Amazon                          MISTONG                               https://www.amazon.com/sp?ie=UTF8&seller=A35JRB1UWIAEBQ
  32      Amazon                          PELTEFLU                             https://www.amazon.com/sp?ie=UTF8&seller=A2NXB1Q9WXRCGK
  33      Amazon                             szbb                                https://www.amazon.com/sp?ie=UTF8&seller=A2J8EVSQGX6VFA
  34      Amazon                         xuqimaoyi                              https://www.amazon.com/sp?ie=UTF8&seller=A3GH0CBZR66IMF
  35      Amazon                          hongdaus                               https://www.amazon.com/sp?ie=UTF8&seller=A2V2XCRS2T029V
  36      Amazon                            Talvadi                              https://www.amazon.com/sp?ie=UTF8&seller=A18LTOAUGIV84I
  37      Amazon                           Hans-US                                https://www.amazon.com/sp?ie=UTF8&seller=A3PPPISBISD2PC
  38      Amazon                            Vasofe                              https://www.amazon.com/sp?ie=UTF8&seller=A28GSSUNZMCOF4
  39      Amazon                          WENBAO                                 https://www.amazon.com/sp?ie=UTF8&seller=AIDMWNZVYJT8P
  40      Amazon                         Feige store                           https://www.amazon.com/sp?ie=UTF8&seller=A1FOVGNMNWRJBC
  41      Amazon                          ULTSOFE                                https://www.amazon.com/sp?ie=UTF8&seller=A4NTXRBOFHE9E
  42      Amazon                           Qianqin                             https://www.amazon.com/sp?ie=UTF8&seller=A21WPHB9MXCBJN
  43      Amazon                         Hayinta US                            https://www.amazon.com/sp?ie=UTF8&seller=A1UHDKB8RYWVQZ
  44      Amazon                           ILIKEUS                               https://www.amazon.com/sp?ie=UTF8&seller=A1FVDH7E5T5LR4
  45      Amazon                          AToolBar                              https://www.amazon.com/sp?ie=UTF8&seller=A160EN4DDB6XFK
  46      Amazon                          mevius k                              https://www.amazon.com/sp?ie=UTF8&seller=A1PWQ9PI2D3G04
  47      Amazon                           Dangna                              https://www.amazon.com/sp?ie=UTF8&seller=A26GDWZX645KM4
  48      Amazon                          YINQIUUS                             https://www.amazon.com/sp?ie=UTF8&seller=A1NS3UNG2W0W6R
  49      Amazon                     Elraimando store                            https://www.amazon.com/sp?ie=UTF8&seller=A36C118IA7N5UC
  50      Amazon                         ALLMEYOU                                https://www.amazon.com/sp?ie=UTF8&seller=AP0QOYNAVIZGR
  51      Amazon                       Dorohome US                              https://www.amazon.com/sp?ie=UTF8&seller=A2NZZ8J99W0E8C
  52      Amazon                   MYLONGINGCHARM                               https://www.amazon.com/sp?ie=UTF8&seller=A1RQ308ZUH3XTM
  53      Amazon            Dongguan Jiayi moju youxiangongsi                   https://www.amazon.com/sp?ie=UTF8&seller=A2UQ2QD8GV4FF4
  54      Amazon             AiSiPaiErJiang AiErKenshangmao                       https://www.amazon.com/sp?ie=UTF8&seller=A9TT5AMI0BP98
  55      Amazon                        BuyersVoice                             https://www.amazon.com/sp?ie=UTF8&seller=A139GEN5GKECCH
  56      Amazon                          Funstone                             https://www.amazon.com/sp?ie=UTF8&seller=A3A2TAWQUDV9QJ
  57      Amazon                           YAAHEO                                https://www.amazon.com/sp?ie=UTF8&seller=A2EECF80987S58
  58      Amazon                         FYAIRO US                               https://www.amazon.com/sp?ie=UTF8&seller=AAKR5MG527C6Z
  59      Amazon                          UOIENRT                                https://www.amazon.com/sp?ie=UTF8&seller=A1ELSJWVCY2C28
  60      Amazon                        xunhangnet                               https://www.amazon.com/sp?ie=UTF8&seller=A8N0FDMYIP1ZQ
  61      Amazon                    OneTwoGo Direct                             https://www.amazon.com/sp?ie=UTF8&seller=A3199ALG6DWG13
  62      Amazon                          MusClub                               https://www.amazon.com/sp?ie=UTF8&seller=AMW75CNV4JVO9
  63      Amazon                            Apeso                                https://www.amazon.com/sp?ie=UTF8&seller=AJ09UNN4N9HQ8
  64      Amazon                      Delmoar Home                                https://www.amazon.com/sp?ie=UTF8&seller=A7FU4E404EE8Y
  65      Amazon                           TSZYSM                                https://www.amazon.com/sp?ie=UTF8&seller=A25581Q1PEA7H



     23-CV-23380-RNS                                                                                                                 1
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 66     Amazon                GXINT                    https://www.amazon.com/sp?ie=UTF8&seller=A1L9P9OVET1YW9
 67     Amazon              Zhi ying                  https://www.amazon.com/sp?ie=UTF8&seller=A1WFGNAKGGB7C0
 68     Amazon             Memfish                       https://www.amazon.com/sp?ie=UTF8&seller=A1EE6IXC9CZPI2
 69     Amazon              LeadCon                   https://www.amazon.com/sp?ie=UTF8&seller=A2U1F2UHGXQN79
 70     Amazon             MOKARO                     https://www.amazon.com/sp?ie=UTF8&seller=A17NAOU3XOESDD
 71     Amazon              Mengzili                    https://www.amazon.com/sp?ie=UTF8&seller=A1O06CTD0ISDZN
 72     Amazon               Laopod                    https://www.amazon.com/sp?ie=UTF8&seller=A2NBNX6NWJPR40
 73     Amazon          KINBOM Store                  https://www.amazon.com/sp?ie=UTF8&seller=A24M55ADMJQEC9
 74     Amazon             Nine suns                    https://www.amazon.com/sp?ie=UTF8&seller=AN7RRTEXSAMTG
 75     Amazon              Lanmes                      https://www.amazon.com/sp?ie=UTF8&seller=A7SY12OBNBOVZ
 76     Amazon          AMIR Direct-US                  https://www.amazon.com/sp?ie=UTF8&seller=AXI0SBOCSWPNS
 77     Amazon           Halohe house                  https://www.amazon.com/sp?ie=UTF8&seller=A26X56REH6WD3D
 78     Amazon            Langbowan                    https://www.amazon.com/sp?ie=UTF8&seller=AP9BMT16WXSQY
 79     Amazon          baolilong1234                  https://www.amazon.com/sp?ie=UTF8&seller=A1M6AQKTMR8IEY
 80     Amazon             yikemaoyi                  https://www.amazon.com/sp?ie=UTF8&seller=A1VNWWZ2OG2KV1




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